           Case 1:18-sw-00574-TCB Document 1 Filed 09/19/18 Page 1 of 57 PageID# 1
AO 106(Rev. 06/09) Application for a Search Warrant



                                      United States District Court
                                                                     for the
                                                         Eastern District of Virginia

             In the Matter of the Search of
         (Briefly describe the property to be searched
       or identify the person by name and address)                               Case No.1:18
12905 Kerrydale Road, Woodbridge, Virginia 22193, which
              Is a two-story split level building


                                            APPLICATION FOR A SEARCH WARRANT

        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjuiy that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
See Attachment A.



located in the              Eastern               District of             Virginia            ,there is now concealed (identify the
person or describe the property to be seized)'.
See Attachment B.




          The basis for the search under Fed. R. Grim. P. 41(c) is (check one or more):
                 sT evidence of a crime;
                 isf contraband, fruits of crime, or other items illegally possessed;
                 □ property designed for use, intended for use, or used in committing a crime;
                 af a person to be arrested or a person who is unlawfully restrained.
           The search is related to a violation of:

             Code Section                                                        Offense Description
        21 U.S.C.§§ 841 (a)(1) . 846              Conspiracy to distribute controlled substances.



           The application is based on these facts:
        See attached affidavit.



           sf Continued on the attached sheet.
           □ Delayed notice of        days (give exact ending date if more than 30 days:                               ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet


Reviewed by AUSA/SAUSA:
                                                                                              Applicant's signature
  AUSAs Michael Ben'Ary and Colleen Garcia
                                                                                     Zachary Mikkelson, ATP Special Agent
                                                                                              Printed name and title


Sworn to before me and signed in my presence.
                                                                                         resa Carroll Buchanan
                                                                                     United States Magistrate Judge
Date:            09/19/2018
                                                                                                Judge's signature

City and state: Alexandria, VA                                                 Theresa Carroll Buchanan, US Magistrate Judge
                                                                                              Printed name and title
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